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              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


                                               )
                                               )
 Toho Co. Ltd.,                                )      Case Number: 23-cv-14720
                                Plaintiff,     )
                                               )
          v.                                   )
                                               )
                                               )
 The Individuals, Corporations, LLCs,          )
 Partnerships, and Unincorporated Associations )      Hon. Thomas M. Durkin
 Identified on Schedule A,                     )
                                               )
                                               )
                                Defendants.

 (AGREED) DEFENDANT BRICKSMYHEART’S MOTION FOR AN EXTENSION OF
               TIME TO ANSWER OR OTHERWISE PLEAD


       NOW COMES Defendant Bricksmyheart (“Defendant”), by and through its undersigned

counsel, and respectfully requests this Court extend the time by 21 days to file a response to the

Complaint. In support, the Defendant states as follows:


       1.       This is the first motion for an extension of time filed by the Defendant.


       2.      The Defendant is in settlement negotiations with the Plaintiff.


       3.      The Defendant needs additional time to try and reach an agreement, or if not,

               respond to Plaintiff’s Complaint.

       4.      This Court may, for good cause, extend the time by which Defendant’s response

               is due if a request is made, before the original time or its extension expires. Fed.

               R. Civ. P. 6(b)(1)(A).
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       5.      The Defendant respectfully requests this Court extend the date 21 days from the

               date of this filing on which Defendant must respond to Plaintiff’s Complaint, if

               ultimately necessary, to December 20, 2023.

       6.      Counsel for Defendant apprised counsel for Plaintiff of this Motion, and counsel

               does not object.


       WHEREFORE, for the foregoing reasons, Defendant Bricksmyheart respectfully requests

this Honorable Court enter an Order: Extending the date on which its response to Plaintiff’s

Complaint is due 21 days to December 20, 2023.


November 29, 2023                    Respectfully submitted,

                                     s/ Christopher Keleher

                                     Christopher Keleher
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                             CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies on November 29, 2023 that a true and correct

copy of the foregoing document was filed electronically with the Clerk of the Court and served

on all counsel of record.


       Respectfully submitted,

       s/ Christopher Keleher

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